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                         SOUTHERN DISTRICT OF CALIFO


UNITED STATES OF AMERICA,                       CASE NO.

                           Plaintiff,
                   vs.                          JUDGMENT OF DISMISSAL
LUIS RAMIRO CASTREJON-FLORES
 (2) ,

                           Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

         an indictment has been filed in another case against the defendant and
         the Court has granted the motion of the Government for dismissal of
         this case, without prejudice; or

         the Court has dismissed the case for unnecessary delay; or

-X-      the Court has granted the motion of the Government for dismissal,
         without prejudice

         the Court has granted the motion of the defendant for a judgment of
         acquittal; or

         a jury has been waived, and the Court has found the defendant not
         guilty; or

         the jury has returned its verdict, finding the defendant not guilty;

-X-      of the offense(s) as charged in the Indictment:

         21:952 and 960 - IMPORTATION OF A CONTROLLED SUBSTANCE



              IT IS THEREFORE ADJUDGED that
                                                  did~Charged'
 DATED:     5 - S-- / ::z
                                                HON. NITA L. STORMES
